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               EXHIBIT A
   Case
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 IN RE: XARELTO (RIVAROXABAN)                   )          MDL NO. 2592
                                                )
 PRODUCTS LIABILITY LITIGATION                  )          SECTION L
                                                )
                                                )          JUDGE ELDON E. FALLON
                                                )
                                                )          MAG. JUDGE NORTH
                                                )
                                                )
                                                )


This Document Relates to:
HELEN MACK v. JANSSEN RESEARCH & DEVELOPMENT LLC, et al ,
Civil Action No. 2:16-cv-11607

                          NOTICE AND SUGGESTION OF DEATH

TO ALL PARTIES AND ATTORNEYS OF RECORD, please take notice that:

       Undersigned counsel, pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure

hereby informs the Honorable Court of the death of Plaintiff Helen Mack.

Dated: January 12, 2017                    Respectfully submitted,


                                           /s/ Russell T. Abney_______________
                                           Russell T. Abney, Esq.
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                                           2100 RiverEdge Pkwy NW, Suite 1025
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                                           Attorney for the Plaintiffs
   Case
    Case2:14-md-02592-EEF-MBN
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above foregoing Suggestion of Death has

contemporaneously with or before filing been served on all parties or their attorneys in a manner

authorized by FRCP 5(b) (2), Local Rule 5.1 of the Eastern District of Louisiana and via MDL

Centrality, which will send notice of electronic filing in accordance with the procedures

established in MDL 2592 pursuant to Pre-Trial Order No.17.


Dated: January 12, 2017                     Respectfully submitted,


                                            /s/ Russell T. Abney_______________
                                            Russell T. Abney, Esq.
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